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                     IN THE UNITED STATES DISTRICT COURT FOR T
                               EASTERN DISTRICT OF VIRGINIA
                                      Newport News Division                      vi^'       lUi'-




 UNITED STATES OF AMERICA                      )
                                               )
                V.                             )      Criminal No. 4:17crl 18
                                               )
 KARVIA CROSS,                                 )
                                               )
                Defendant.                     )

                                              ORDER


        Upon the motion of the defendant, KARVIA CROSS, by and through counsel, and with

 the agreement of the government, by and through its counsel, it is hereby,

                                    1. Discovery and Inspection

        ORDERED pursuant to Fed. R. Crim. P. 16(a), that no later than seven calendar days

 before trial, unless for good cause shown:

        1. The government shall disclose to the defendant and make available for inspection,

 copying, or photographing: any relevant written or recorded statements made by the defendant,

 or copies thereof, within the possession, custody, or control of the government, the existence of

 which is known, or by the exercise of due diligence may become known, to the attorney for the

 government; that portion of any written record containing the substance of any relevant oral

 statement made by the defendant whether before or after arrest in response to interrogation by

 any person then known to the defendant to be a government agent; recorded testimony of the

 defendant before a grand jury which relates to the offense charged; and the substance of any

 other relevant oral statement made by the defendant whether before or after arrest in response to

 interrogation by any person then known by the defendant to be a government agent if the

 government intends to use that statement at trial.
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